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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 IN RE AUTOMOTIVE PARTS ANTITRUST                            CASE NO. 12-MD-02311
 LITIGATION                                                  HON. MARIANNE O. BATTANI

 In Re: OCCUPANT SAFETY SYSTEMS CASES

 THIS RELATES TO:
 ALL DIRECT PURCHASER ACTIONS                                12-cv-00601-MOB-MKM



   ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
    WITH AUTOLIV DEFENDANTS AND AUTHORIZING DISSEMINATION OF
           NOTICE TO DIRECT PURCHASER SETTLEMENT CLASS

            Upon consideration of the Direct Purchaser Plaintiffs’ Motion for Preliminary Approval

 of Proposed Settlement with defendants Autoliv Inc., Autoliv ASP, Inc., Autoliv B.V. & Co.

 KG, Autoliv Safety Technology, Inc. and Autoliv Japan Ltd. (collectively, “Autoliv”) and For

 Authorization to Disseminate Notice to the Direct Purchaser Settlement Class (the “Motion”), it

 is hereby ORDERED as follows:

            1.     The Motion is hereby GRANTED.

            2.     Terms used in the Order that are defined in the Settlement Agreement are, unless

 otherwise defined herein, used in this Order as defined in the Settlement Agreement.

                             Preliminary Approval of Settlement Agreement

            3.     The terms of the Settlement Agreement are hereby preliminarily approved as

 being fair, reasonable, and adequate to the Settlement Class, subject to a Fairness Hearing. The

 Court finds that the Settlement Agreement was entered into at arm’s-length by experienced

 counsel and is sufficiently within the range of reasonableness that notice of the Settlement

 Agreement should be given to members of the proposed Settlement Class.


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                                          Class Certification

            4.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure and in light of the

 proposed settlement, the Court hereby finds that the prerequisites for a class action have been

 met and provisionally certifies the following class for settlement purposes (the “Settlement

 Class”):

                 All individuals and entities who purchased Occupant Safety
                 Systems in the United States directly from one or more Defendants
                 or any of the Defendants’ respective parents, subsidiaries, or
                 affiliates from January 1, 2003 through May 30, 2014.

            5.   The Court finds that provisional certification of the Settlement Class is warranted

 in light of the Settlement Agreement because: (a) the Settlement Class is so numerous that

 joinder is impracticable; (b) the Direct Purchaser Plaintiff Class representatives’ claims present

 common issues and are typical of the Settlement Class; (c) the Direct Purchaser Plaintiff Class

 representatives and Settlement Class Counsel (identified below) will fairly and adequately

 represent the Settlement Class; and (d) common issues predominate over any individual issues

 affecting the members of the Settlement Class. The Court further finds that the Direct Purchaser

 Plaintiff Class representatives’ interests are aligned with the interests of all other members of the

 Settlement Class. The Court also finds settlement of this action on a class basis superior to other

 means of resolving the matter.

                 Appointment of Class Representatives and Settlement Class Counsel

            6.   The Court hereby appoints plaintiffs Beam’s Industries, Inc. and Findlay

 Industries, Inc. to serve as Class Representatives of the Direct Purchaser Settlement Class.

            7.   The Court hereby appoints the law firms of Freed Kanner London & Millen LLC,

 Kohn, Swift & Graf, P.C., Preti, Flaherty, Beliveau & Pachios LLP, and Spector Roseman

 Kodroff & Willis, P.C. to serve as Settlement Class Counsel for the Direct Purchaser Settlement



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 Class having determined that the requirements of Rule 23(g) of the Federal Rules of Civil

 Procedure are fully satisfied by these appointments.

                            Notice to Potential Settlement Class Members

            8.    The Court approves the form and content of the: (a) Notice of Proposed

 Settlement of Direct Purchaser Class Action with Autoliv Defendants and Hearing on Settlement

 Approval (“Notice”), attached hereto as Exhibit “A”; and (b) Summary Notice of Proposed

 Settlement of Direct Purchaser Class Action with Autoliv Defendants and Hearing on Settlement

 Approval (“Summary Notice”), attached hereto as Exhibit “B.”

            9.    The Court finds that the mailing and publication of the Notice and Summary

 Notice, respectively, in the manner set forth herein constitutes the best notice practicable under

 the circumstances and is valid, due and sufficient notice to all persons entitled thereto and

 complies fully with the requirements of Federal Rule of Civil Procedure 23 and the due process

 requirements of the Constitution of the United States.

            10.   Within thirty (30) days from the date of entry of this Order, Autoliv shall provide

 to Settlement Class Counsel, in an electronic mailing format, the names and addresses of the

 members of the Settlement Class, to the extent they are identifiable through reasonable efforts.

            11.   On or before August 29, 2014, the Notice, in substantially the same form as

 Exhibit “A,” shall be mailed by first class mail, postage prepaid, to all members of the

 Settlement Class identified by defendants. The Notice shall also be provided to all persons who

 request it in response to the Summary Notice provided for herein. In addition, copies of the

 Notice shall be posted on the Internet on a website dedicated to this litigation.

            12.   Settlement Class Counsel shall cause the Summary Notice, in substantially the

 same form as Exhibit “B,” to be published in one national edition of The Wall Street Journal and




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 in one edition of Automotive News, on or before August 29, 2014.

            13.   On or before October 17, 2014, Settlement Class Counsel shall file with the Court

 their motion for final approval of the Settlement Agreement and request to utilize a portion of the

 Autoliv Settlement Fund to pay plaintiffs’ litigation expenses.

            14.   All requests for exclusion from the Settlement Class must be in writing,

 postmarked no later than October 30, 2014, and must otherwise comply with the requirements set

 forth in the Notice.

            15.   Any member of the Settlement Class who objects to the proposed settlement, or to

 the request to utilize a portion of the Autoliv Settlement Fund to pay plaintiffs’ litigation

 expenses must do so in writing, postmarked no later than October 30, 2014, and shall otherwise

 comply with the requirements set forth in the Notice.

            16.    Each member of the Settlement Class shall retain all rights and causes of action

 with respect to claims against every defendant other than the Autoliv Defendants, regardless of

 whether such member of the Settlement Class decides to remain in, or request exclusion from, the

 Settlement Class.

            17.   At least ten (10) days before the date fixed by this Court for the Fairness Hearing,

 Settlement Class Counsel shall file with the Court affidavits or declarations of the person under

 whose general direction the mailing and posting of the Notice, and publication of the Summary

 Notice, were made, showing that mailing, posting and publication were made in accordance with this

 Order.

            18.   The Court will hold a Fairness Hearing on December 3 2014, at 1:00 p.m.at the

 Theodore Levin U.S. Courthouse, Courtroom 272, 231 West Lafayette Blvd., Detroit MI, 48226,

 to determine the fairness, reasonableness, and adequacy of the proposed settlement with Autoliv,

 and to consider whether to approve the request to utilize a portion of the Autoliv Settlement Fund


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 to pay plaintiffs’ litigation expenses. Any Settlement Class member who follows the procedure

 set forth in the Notice may appear and be heard at this hearing. The Fairness Hearing may be

 rescheduled, adjourned and/or continued without further notice to the Settlement Class.

                                           Other Provisions

            19.   In the event that the Settlement Agreement is terminated in accordance with its

 provisions, the Settlement Agreement and all proceedings had in connection therewith shall be

 null and void, except insofar as expressly provided to the contrary in the Settlement Agreement,

 and without prejudice to the status quo and rights of the Direct Purchaser Plaintiffs, Autoliv, and

 the members of the Settlement Class.

            20.   The Court’s provisional certification of the Settlement Class as provided herein is

 without prejudice to, or waiver of, the rights of any defendant to contest certification of any other

 class proposed in these coordinated actions. The Court’s findings in this Order shall have no

 effect on the Court’s ruling on any motion to certify any class in these actions or on the Court’s

 rulings concerning any defendant’s motion, and no party may cite or refer to the Court’s

 approval of the Settlement Class as persuasive or binding authority with respect to any motion to

 certify any such class or any defendant’s motion.

            21.   The Court approves the establishment of the escrow account under the Settlement

 Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section

 468B and the Treasury Regulations promulgated thereunder, and retains continuing jurisdiction

 as to any issue that may arise in connection with the formation and/or administration of the QSF.

 Settlement Class Counsel are, in accordance with the Settlement Agreement authorized to use

 funds from the QSF to pay costs of notice, taxes, tax expenses and settlement administration

 costs.




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            22.   The Direct Purchaser Class litigation against Autoliv is stayed except to the extent

 necessary to effectuate the Settlement Agreement.

            IT IS SO ORDERED.



 Date: July 9, 2014                                      s/Marianne O. Battani
                                                         MARIANNE O. BATTANI
                                                         United States District Judge



                                      CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's
 ECF System to their respective email addresses or First Class U.S. mail to the non-ECF participants on
 July 9, 2014.


                                                                 s/ Kay Doaks
                                                                 Case Manager




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                        EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 IN RE AUTOMOTIVE PARTS ANTITRUST                          CASE NO. 12-MD-02311
 LITIGATION                                                HON. MARIANNE O. BATTANI

 In Re: OCCUPANT SAFETY SYSTEMS CASES

 THIS RELATES TO:
 ALL DIRECT PURCHASER ACTIONS                              12-cv-00601-MOB-MKM


           NOTICE OF PROPOSED SETTLEMENT OF DIRECT PURCHASER
                  CLASS ACTION WITH AUTOLIV DEFENDANTS
                  AND HEARING ON SETTLEMENT APPROVAL

 TO:    ALL INDIVIDUALS AND ENTITIES WHO PURCHASED OCCUPANT SAFETY
        SYSTEMS IN THE UNITED STATES DIRECTLY FROM ONE OR MORE
        DEFENDANTS OR ANY OF THE DEFENDANTS’ RESPECTIVE PARENTS,
        SUBSIDIARIES OR AFFILIATES (“OSS Sellers”) FROM JANUARY I, 2003
        THROUGH MAY 30, 2014.

        PLEASE READ THIS ENTIRE NOTICE CAREFULLY. YOUR LEGAL RIGHTS
        MAY BE AFFECTED BY LITIGATION NOW PENDING IN THIS COURT.

 WHAT IS THE PURPOSE OF THIS NOTICE AND WHY WAS IT SENT TO ME?

        This Notice is given pursuant to Rule 23 of the Federal Rules of Civil Procedure and an

 Order of the United States District Court for the Eastern District of Michigan, Southern Division.

 The purpose of this Notice is to inform you of a proposed settlement with defendants Autoliv

 Inc., Autoliv ASP, Inc., Autoliv B.V. & Co. KG, and Autoliv Japan Ltd. (collectively,

 “Autoliv”). Under the terms of the proposed settlement, Autoliv has made a payment in the

 amount of $40 million (the “Settlement Fund”), and will cooperate with Direct Purchaser

 Plaintiffs in the prosecution of the claims against the remaining defendants.
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            This litigation is part of coordinated legal proceedings involving a number of parts used

 in motor vehicles. The litigation, and the proposed settlement, relate solely to Occupant Safety

 Systems purchased directly from an OSS Seller. These proceedings do not relate to, and have no

 effect upon, cases involving any other product or purchaser.

            “Occupant Safety Systems,” for purposes of the settlement, are seat belts, airbags,

 steering wheels or steering systems, safety electronic systems and related parts and components.

 If you purchased Occupant Safety Systems in the United States directly from any OSS Seller

 during the period from January 1,2003 through May 30, 2014 (the “Class Period”), you are a

 member of the Direct Purchaser Settlement Class and have the rights and options summarized

 here:

            •      You may remain in the Direct Purchaser Settlement Class and be eligible to share

 in the Autoliv Settlement Fund under a claims procedure that will be instituted in the future;

            •      You may exclude yourself from the Direct Purchaser Settlement Class, in which

 case you will not be bound by the settlement and will not be eligible to share in the Autoliv

 Settlement Fund;

            •      If you do not exclude yourself from the Direct Purchaser Settlement Class, you

 may object in writing to the proposed Autoliv settlement or the request to use a portion of the

 Settlement Fund to pay litigation expenses and appear at the hearing where the Court will

 determine whether the proposed settlement should be approved as fair, adequate and reasonable,

 and whether a portion of the Settlement Fund may be used to pay litigation expenses; and

            •      You may enter an appearance in the litigation through your own counsel at your

 own expense.




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             You do not need to take any action at this time if you wish to remain in the Direct

  Purchaser Settlement Class. You should retain all of your records of Occupant Safety Systems

  purchases for use in the claims procedure that will be instituted at a later date.

  WHO IS IN THE DIRECT PURCHASER SETTLEMENT CLASS?

             On _________, 2014, the Court certified a Direct Purchaser Settlement Class for

  purposes of disseminating notice of the proposed Autoliv settlement, defined as follows:

                    All individuals and entities who purchased Occupant Safety
                    Systems in the United States directly from one or more Defendants
                    or any of the Defendants’ respective parents, subsidiaries or
                    affiliates from January 1,2003 through May 30, 2014.

             For purposes of the Direct Purchaser Settlement Class definition set forth above, the

  following entities are defendants:

                                   Autoliv Inc.; Autoliv ASP, Inc.;
                                   Autoliv B.V. & Co. KG; Autoliv Japan Ltd.;
                                   Autoliv Safety Technology, Inc.
                                   Takata Corporation; TK Holdings, Inc.;
                                   Tokai Rika Co., Ltd.;
                                   TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc.;
                                   TRW Automotive Holdings Corporation; and
                                   TRW Deutschland Holding GmbH.

             Plaintiffs Beam’s Industries, Inc. and Findlay Industries, Inc. have been appointed by the

  Court to serve as class representatives for the Direct Purchaser Settlement Class. The Court has

  appointed the law firms of Freed Kanner London & Millen LLC, Kohn, Swift & Graf, P.C.,

  Preti, Flaherty, Beliveau & Pachios LLP, and Spector Roseman Kodroff & Willis, P.C.

  (hereinafter, “Settlement Class Counsel”) to serve as Settlement Class Counsel for the Direct

  Purchaser Settlement Class.




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  WHAT IS THIS LITIGATION ABOUT?

             In 2012, class action lawsuits were filed against Defendants by Plaintiffs, who are direct

  purchasers of Occupant Safety Systems. Plaintiffs allege that Defendants entered into a

  conspiracy to suppress and eliminate competition for Occupant Safety Systems by agreeing to

  fix, maintain, or stabilize prices, rig bids, and allocate the supply of Occupant Safety Systems, in

  violation of federal antitrust laws. Plaintiffs further allege that as a result of the conspiracy, they

  and other direct purchasers of Occupant Safety Systems have been injured by paying more for

  those products than they would have paid in the absence of the alleged illegal conduct, and they

  seek recovery of treble damages, together with reimbursement of costs and an award of

  attorneys’ fees.

             Autoliv and the other defendants deny Plaintiffs’ allegations, and the Court has not issued

  any findings or rulings with respect to the merits of Plaintiffs’ claims or Defendants’ defenses.

  This is a partial settlement of the claims in the Complaint as it is with Autoliv only. The class

  representative plaintiffs are continuing to prosecute the case against the remaining, non-settling,

  defendants.

  WHAT RELIEF DOES THE PROPOSED SETTLEMENT PROVIDE?

             Plaintiffs, on behalf of the Direct Purchaser Settlement Class, have entered into a

  settlement agreement with Autoliv dated May _, 2014 (the “Settlement Agreement”) under

  which Autoliv has paid the amount of $40 million into an escrow account for the benefit of the

  Settlement Class. The Settlement Agreement gives Autoliv the right to reduce the Settlement

  Fund by as much as, but no more than, $16 million depending upon the percentage of the total

  dollar volume of sales of Occupant Safety Systems by Autoliv during the Class Period to direct

  purchasers who timely exercise their right to request exclusion from the Settlement Class.



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  Further, the settlement gives both Autoliv and the plaintiffs the right to withdraw from the

  settlement if the total dollar amount of sales of Occupant Safety Systems by Autoliv during the

  Class Period to direct purchasers who timely exercise their right to request exclusion from the

  Settlement Class exceeds a certain percentage.

             Autoliv has also agreed to cooperate with plaintiffs in the prosecution of the lawsuit

  against the remaining defendants. The cooperation provided for under the Settlement Agreement

  includes: (a) the production by Autoliv of certain documents and data potentially relevant to

  plaintiff’s claims; (b) interviews with certain of Autoliv’s employees; (c) declarations and

  affidavits from Autoliv’s employees; (d) depositions and trial testimony of certain of Autoliv’s

  employees; and (e) meetings between Settlement Class Counsel and Autoliv’s counsel to provide

  information relating to the Occupant Safety Systems industry and the alleged antitrust violations

  at issue in these actions.

             Settlement Class Counsel agreed to the proposed settlement to ensure a fair and

  reasonable resolution to this matter, and to provide benefits to the members of the Direct

  Purchaser Settlement Class recognizing the existence of complex, contested issues of law and

  fact; the risks inherent in such complex litigation; the likelihood that in the absence of settlement

  future proceedings would take several years and be extremely costly; and the magnitude of the

  benefits resulting from the settlement in light of the possible range of recovery that could be

  obtained through further litigation, including the risk of no recovery. Settlement Class Counsel

  believe it is in the best interests of the Direct Purchaser Settlement Class to enter into the

  proposed settlement and resolve this litigation as to Autoliv.

             This Notice is only a summary of the terms of the proposed settlement. The Settlement

  Agreement contains other important provisions, including the release of certain claims against



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  Autoliv, and you are referred to the Agreement, which is on file with the Clerk of Court and is

  available on-line at _______________ .com, for the complete terms of the settlement. The

  proposed settlement must receive final approval by the Court in order to become effective.

             If you are a member of the Direct Purchaser Settlement Class and the proposed settlement

  is approved and becomes effective, you will be bound by its terms, including the release

  provisions. If you wish to object to approval of the settlement, you may do so, but only in

  accordance with the procedures set forth below. If you do not object to the settlement, you do not

  need to take any action at this time to indicate your support for, or lack of objection to, the

  settlement.

  HOW DO I REMAIN IN THE SETTLEMENT CLASS AND WHAT HAPPENS IF I DO?

             If you are a member of the Direct Purchaser Settlement Class as defined above, you will

  automatically remain a Direct Purchaser Settlement Class member with respect to the Autoliv

  settlement unless you elect to be excluded. If you wish to remain in the Direct Purchaser

  Settlement Class, you do not need to take any action at this time and your interests will be

  represented by the class representatives and by Settlement Class Counsel. You will have no

  responsibility to individually pay attorneys’ fees or expenses. Any such fees and expenses will

  be paid solely from amounts obtained from the Defendants, whether by settlement or judgment,

  and must be approved by the Court after notice to you and a hearing. If you choose, you may

  also have your own attorney enter an appearance on your behalf and at your expense.

             If you remain in the Direct Purchaser Settlement Class and the final judgment order

  dismissing Autoliv from the litigation becomes final and unappealable, you will be bound by that

  judgment.




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             As a member of the Direct Purchaser Settlement Class, you will be eligible to share in the

  Autoliv Settlement Fund pursuant to a claims procedure that will begin at a later date.

             Settlement Class Counsel are not presently asking the Court to distribute the Settlement

  Fund proceeds to Direct Purchaser Settlement Class members. If you remain a member of the

  Direct Purchaser Settlement Class, you will receive additional notice at a later date and you will

  have an opportunity to object to and be heard in connection with the proposed plan of

  distribution of the Settlement Fund at that time.

             Do not dispose of any document that reflects your direct purchases of Occupant

  Safety Systems in the United States from any defendant during the period from January 1,

  2003 through May 30, 2014. You may need those documents to complete a claim form in

  the future, which would be subject to inquiry and verification, if the settlement is approved

  or if damages are otherwise recovered from Autoliv or another defendant.

             Settlement Class Counsel are not seeking payment of attorney’s fees or reimbursement of

  litigation costs incurred by Settlement Class Counsel at this time. In connection with seeking

  final approval of the Autoliv settlement, plaintiffs will seek permission from the Court to use up

  to $1.0 million from the Settlement Fund to pay plaintiffs’ litigation expenses, including, but not

  limited to, costs for economic experts, depositions, costs related to document reproduction and

  review, and other costs incurred in prosecuting the case.

             At a later date, Settlement Class Counsel will ask the Court for an award of attorneys’

  fees and reimbursement of litigation expenses, as well as payment of incentive awards to the

  class representatives for their service to the class. When Settlement Class Counsel seek payment

  of attorneys’ fees, reimbursement of litigation expenses, and incentive awards from the




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  Settlement Fund, you will receive notice and be given an opportunity to object and be heard by

  the Court at that time.

  WHAT IF I DO NOT WANT TO REMAIN IN THE SETTLEMENT CLASS?

             If you wish to exclude yourself from the Direct Purchaser Settlement Class, you must

  send a request for exclusion, in writing, via certified mail, return receipt requested, postmarked

  no later than _________, 2014, to Settlement Class Counsel at the addresses set forth below,

  and to the following address:

                            Occupant Safety Systems Direct Purchaser Antitrust Litigation
                            PO Box _______________
                            ______________________

             Your request for exclusion must include the full name and address of the purchaser

  (including any predecessor or successor entities). You are also requested to identify the

  defendant(s) from which you purchased Occupant Safety Systems during the Class Period, the

  Occupant Safety Systems purchased, and the dollar amount of those purchases. If you validly

  exclude yourself from the Direct Purchaser Settlement Class, you will not be bound by any

  decision concerning the Autoliv settlement and you may pursue individually any claims that you

  may have against Autoliv or any of the Defendants’ respective parents, subsidiaries or affiliates,

  but you will not be eligible to share in the Settlement Fund created by the Autoliv settlement.

  WHEN WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT
  AND HOW CAN I TELL THE COURT WHAT I THINK ABOUT THE SETTLEMENT?

             The Court will hold a hearing on ______, 2014, at ____ _.m., at the Theodore Levin

  United States Courthouse, 231 West Lafayette Boulevard, Detroit, MI 48226, Courtroom 272, to

  determine whether the proposed Autoliv settlement should be approved as fair, reasonable, and

  adequate. The Court will also consider at the hearing whether to approve plaintiffs’ request to

  utilize a portion of the Settlement Fund to pay plaintiffs’ litigation expenses incurred in the


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  prosecution of the case against the non-settling defendants. The hearing may be continued

  without further notice.

             If you do not exclude yourself from the Direct Purchaser Settlement Class and you wish

  to object to the Settlement Agreement or plaintiffs’ request to utilize a portion of the Settlement

  Fund to pay plaintiffs’ litigation expenses, you must do so in writing. Your objection must

  include the caption of this litigation, must be signed, and be filed no later than ______ , 2014,

  with the Clerk of Court, United States District Court for the Eastern District of Michigan,

  Southern Division, Theodore Levin United States Courthouse, 231 West Lafayette Boulevard,

  Detroit, MI 48226, and mailed to the following counsel:

  Gregory P. Hansel                                  Joseph C. Kohn
  PRETI, FLAHERTY, BELIVEAU                          KOHN, SWIFT & GRAF, P.C.
   & PACHIOS LLP                                     One South Broad Street, Suite 2100
  One City Center, P.O. Box 9546                     Philadelphia, PA 19107
  Portland, ME 04112-9546                            Telephone: (215) 238-1700
  Telephone: (207) 791-3000

  Steven A. Kanner                                   Eugene A. Spector
  FREED KANNER LONDON                                SPECTOR ROSEMAN KODROFF
    & MILLEN LLC                                       & WILLIS, P.C.
  2201 Waukegan Road, Suite 130                      1818 Market Street, Suite 2500
  Bannockburn, IL 60015                              Philadelphia, PA 19103
  Telephone: (224) 632-4500                          Telephone: (215) 496-0300

                       Co-Lead Counsel for the Direct Purchaser Settlement Class

  Peter Kontio                                       Fred K. Hermann
  ALSTON & BIRD LLP                                  KERR, RUSSELL AND WEBER, PLC
  1201 West Peachtree Street                         500 Woodward Avenue, Suite 2S00
  Atlanta, GA 30309-3424                             Detroit, MI 48226
  Telephone: (404) 881-7000                          Telephone: (313) 961-0200

                                    Counsel for the Autoliv Defendants




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  If you do not object to the proposed Autoliv settlement or plaintiffs’ request to utilize a portion

  of the Settlement Fund to pay plaintiffs’ litigation expenses, you do not need to appear at the

  hearing or take any other action at this time.

  WHAT SHOULD I DO IF I WANT ADDITIONAL INFORMATION
  OR IF MY ADDRESS CHANGES?

             If this Notice reached you at an address other than the one on the mailing label, or if your

  address changes, please send your correct address to: Occupant Safety Systems Direct Purchaser

  Antitrust Litigation, P.O. Box ______________.

             The Settlement Agreement, Complaint, and other public documents filed in this litigation

  are available for review during normal business hours at the offices of the Clerk of Court, United

  States District Court for the Eastern District of Michigan, Southern Division, Theodore Levin

  United States Courthouse, 231 West Lafayette Boulevard, Detroit, MI 48226. Copies of the

  Settlement Agreement and certain other documents relevant to this litigation are available at

  _____________ .com. Questions concerning the proposed Autoliv settlement, this Notice, or the

  litigation, may be directed to any of the Settlement Class Counsel identified above.

             Please do not contact the Clerk of the Court or the Judge.

  Dated: _____________, 2014                              BY ORDER OF:
                                                       The United States District Court for the Eastern
                                                       District of Michigan, Southern Division




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       IF YOU PURCHASED OCCUPANT SAFETY SYSTEMS DIRECTLY
             FROM AUTOLIV, TAKATA, TOKAI RIKA OR TRW
               BETWEEN JANUARY 1, 2003 AND MAY 30, 2014,
         YOUR LEGAL RIGHTS MAY BE AFFECTED BY A PROPOSED
            SETTLEMENT WITH THE AUTOLIV DEFENDANTS
             A proposed $40 million settlement has been reached in In re Automotive Parts Antitrust

  Litigation, MDL 2311, W:12-cv-00201-MOB-MKM (E.D. Mich.), with defendants Autoliv Inc.,

  Autoliv ASP, Inc., Autoliv B.V. & Co. KG, and Autoliv Japan Ltd. (collectively, “Autoliv”).

             What is the lawsuit about? This class action is part of coordinated legal proceedings

  involving a number of parts used in motor vehicles. The litigation, and the proposed settlement,

  relate solely to Occupant Safety Systems purchased directly from a defendant. These

  proceedings do not relate to, and have no effect upon, cases involving any other product or

  purchaser.

             “Occupant Safety Systems,” for purposes of the settlement, are seat belts, airbags,

  steering wheels or steering systems, safety electronic systems and related parts and components.

             Plaintiffs allege that defendants entered into a conspiracy with other defendant

  manufacturers of Occupant Safety Systems [need same language in long notice] to suppress and

  eliminate competition for Occupant Safety Systems by agreeing to fix, maintain, or stabilize

  prices, rig bids, and allocate the supply of Occupant Safety Systems, in violation of federal

  antitrust laws. Plaintiffs further allege that as a result of the conspiracy, they and other direct

  purchasers of Occupant Safety Systems were injured by paying more for those products than

  they should have paid, and seek recovery of treble damages, together with reimbursement of

  costs and an award of attorneys’ fees.

             Autoliv and the other defendants deny plaintiffs’ allegations, and the Court has not issued

  any findings or rulings on the merits of plaintiffs’ claims or defendants’ defenses. This is a



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  partial settlement of the claims in the Complaint as it is with Autoliv only. The litigation is

  continuing against the remaining defendants.

         Who is included? The Class is composed of all individuals and entities who purchased

Occupant Safety Systems in the United States directly from any of the following defendants, or

any of their respective parents, subsidiaries or affiliates, from January 1, 2003 through May __,

2014 (the “Class Period”): Autoliv Inc.; Autoliv ASP, Inc.; Autoliv B.V. & Co. KG; Autoliv

Safety Technology, Inc.; Autoliv Japan Ltd.; Takata Corporation; TK Holdings, Inc.; Tokai Rika

Co., Ltd.; TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc.; TRW Automotive Holdings Corporation; and

TRW Deutschland Holding GmbH.

             A Notice of Proposed Settlement (“Notice”) was mailed to potential Direct Purchaser

  Settlement Class members on or about _______________, 2014. The Notice describes the

  litigation and options available to Direct Purchaser Settlement Class members with respect to the

  Autoliv settlement in more detail. If you did not receive the Notice you may obtain a copy on

  the internet at ______________.com, or by calling or writing to the following Settlement Class

  Counsel:

  Gregory P. Hansel                                 Joseph C. Kohn
  PRETI, FLAHERTY, BELIVEAU                         KOHN, SWIFT & GRAF, P.C.
   & PACHIOS LLP                                    One South Broad Street, Suite 2100
  One City Center, P.O. Box 9546                    Philadelphia, PA 19107
  Portland, ME 04112-9546                           Telephone: (215) 238-1700
  Telephone: (207) 791-3000

  Steven A. Kanner                                  Eugene A. Spector
  FREED KANNER LONDON                               SPECTOR ROSEMAN KODROFF
    & MILLEN LLC                                      & WILLIS, P.C.
  2201 Waukegan Road, Suite 130                     1818 Market Street, Suite 2500
  Bannockburn, IL 60015                             Philadelphia, PA 19103
  Telephone: (224) 632-4500                         Telephone: (215) 496-0300

                           Co-Lead Counsel for the Direct Purchaser Settlement Class




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             What does the settlement provide? Autoliv has paid the amount of $40 million (the

  “Settlement Fund”) into an escrow account and will cooperate with plaintiffs in the prosecution

  of the claims against the remaining defendants.

         Your rights may be affected. If you purchased Occupant Safety Systems in or into the

United States directly from any defendant during the Class Period, you will automatically remain a

Direct Purchaser Settlement Class member as to the Autoliv settlement unless you elect to be

excluded. If you wish to remain in the Direct Purchaser Settlement Class, you do not need to take

any action at this time and your interests will be represented by plaintiffs and by Settlement Class

Counsel.

             If you do not want to be bound by the Settlement, you must submit a written request for

  exclusion, postmarked no later than ______________, 2014. If you validly exclude yourself

  from the Direct Purchaser Settlement Class you will not be bound by any decision concerning

  the Autoliv settlement and you can pursue individually any claims you may have against

  Autoliv, but you will not be eligible to share in the Settlement Fund created by the Autoliv

  settlement.

             If you stay in the Settlement Class, you have the right to object to the proposed Autoliv

  settlement and to plaintiffs’ request to utilize a portion of the Settlement Fund to pay for

  litigation expenses. Your objection must be filed no later than ______________, 2014.

             The Court has scheduled a hearing on _____________, 2014, to consider whether to

  approve the proposed settlement and plaintiffs’ request to utilize a portion of the Settlement Fund

  to pay plaintiffs’ litigation expenses. The hearing may be continued without further notice.




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             If you believe you are a member of the Direct Purchaser Settlement Class, you are urged

  to obtain a copy of the detailed Notice, which discusses your rights regarding the Autoliv

  settlement.

             If you have questions concerning this litigation, you may contact Settlement Class

  Counsel identified above. Do not contact the Clerk of the Court or the Judge.

  Dated: _______________, 2014                      BY ORDER OF:

                                                    The United States District Court for the Eastern
                                                    District of Michigan, Southern Division




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